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                       Exhibit 23
        FILED UNDER SEAL
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   1                  UNITED STATES DISTRICT COURT
   2                  EASTERN DISTRICT OF LOUISIANA
   3
   4      * * * * * * * * * * * * * * * * * * * * * * * *
                                         MDL 2592
   5                                     Section L
        IN RE: XARELTO                   JUDGE ELDON E.
   6    (Rivaroxaban) PRODUCTS           FALLON
        LIABILITY LITIGATION             MAG. JUDGE
   7                                     MICHAEL B. NORTH
   8
   9      * * * * * * * * * * * * * * * * * * * * * * * *
  10
  11      PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
  12
  13
                      VIDEOTAPED EXPERT DEPOSITION
  14
                                       OF
  15
                         CINDY A. LEISSINGER, M.D.
  16
                  Taken on Tuesday, November 15, 2016
  17
                         Commencing at 9:09 a.m.
  18
                                       At
  19
                           THE LAMBERT LAW FIRM
  20
                           701 Magazine Street
  21
                          New Orleans, Louisiana
  22
  23
  24
  25

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  22        Louisiana and Registered
            Professional Reporter
  23
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  25

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   1    myself?    No.    But I have seen those presentations.
   2         Q.   Right.    And -- and my question, to be fair,
   3    was:    I wanted to know, before you met with the
   4    lawyers, had you specifically looked at the
   5    literature on the PK and PD for Xarelto?
   6         A.   Only in context of these various meetings
   7    where, you know, we would sit and discuss these
   8    things.
   9         Q.   All right.
  10              Let's set aside the conferences where
  11    presentations are made, maybe abstracts, et cetera,
  12    et cetera, had you, before you met with the lawyers,
  13    researched any of the PK/PD data for Xarelto?
  14         A.   No.
  15         Q.   Doctor, your report, I think, is marked as
  16    Exhibit 5.      Do you have that front of you?
  17         A.   I do.
  18         Q.   By the way, did you bring any materials with
  19    you here today?
  20         A.   I did not.      Just got my report.        It's just
  21    an identical copy, only not in color.
  22         Q.   Okay.
  23              Do you have any notes on the version you
  24    brought today?
  25         A.   I do not.

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   1    know, again, guessing -- I'm guessing, but...
   2         Q.   So you have no idea?
   3         A.   I know that it's many, but I don't have an
   4    idea of the number.
   5         Q.   All right.
   6              Are you following the ongoing studies, the
   7    real-world studies with Xarelto?
   8         A.   I'm aware of some.
   9         Q.   Would you say there's a lot of research
  10    ongoing or just a few?
  11         A.   I don't know.      I really don't know.
  12         Q.   Have you discussed your opinion on Xarelto
  13    with other doctors at Tulane?
  14         A.   Yes.
  15         Q.   Who?
  16         A.   People I work with.        My other coagulation
  17    folks at Tulane.       I work with Dr. Maissaa Janbain,
  18    Dr. Tami Singleton, Dr. Marc Kahn.            We're the
  19    group that does the most with hematology patients,
  20    anticoagulant patients.
  21         Q.   Have you expressed your views to doctors
  22    outside of Tulane?
  23         A.   Probably.
  24         Q.   Have you published these views?
  25         A.   No.

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   1         Q.   Presented them at a public forum?
   2         A.   No, I have not.
   3         Q.   I think you said that we don't have as much
   4    data on apixaban, but you're starting to favor it a
   5    little bit.      What about dabigatran?        Should
   6    dabigatran be removed from the market?
   7         A.   Where I practice or the patients I see, I
   8    almost never see a patient on dabigatran.              So,
   9    again, I'm sure there are numbers available that
  10    tell you how many people in the US are on
  11    dabigatran.      I effectively don't -- haven't for a
  12    year or so seen anyone on dabigatran.
  13              Do we need to take a deep breath and take a
  14    hard look at all of these NOACs?            Yes, we do.      The
  15    one thing that dabigatran has perhaps going for it
  16    in a sense is we now have a reversal agent for it,
  17    which we do not for the Xa inhibitors.             I think
  18    there's certainly one in the pipeline, and I think
  19    that's important, but right now we don't have one
  20    ready to hand, you know, to grab off the shelf when
  21    a patient presents having a serious life-threatening
  22    bleed.    We do with dabigatran.
  23              So should there be further analysis of --
  24    you know, again, that at a regulatory level of all
  25    of the NOACs?      In my opinion, that wouldn't be a

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   1    bad idea.     But I'm really not here and not, you
   2    know, sufficiently well versed in all of the
   3    dabigatran literature to talk about dabigatran.
   4              I will say about apixaban, as a Xa
   5    inhibitor -- and dabigatran as well, but
   6    particularly apixaban was studied and has been
   7    released as a BID treatment, which makes a lot of
   8    sense for a drug that has a half-life generally less
   9    than 12 hours, right?
  10              So when you look at Xarelto, the half-life
  11    of Xarelto is -- the -- repeated through --
  12    through all, you know, pharmacokinetic studies
  13    is that in older populations that half-life goes up
  14    to 13 hours, but is really nine to 13 hours, 10 to
  15    13 hours, and in younger populations, much less,
  16    six to nine hours.
  17              So you're talking about groups of patients
  18    who go on a drug, particularly on -- I'm kind of
  19    segueing back to Xarelto.          So if you have somebody
  20    -- and it's apparent that within the sort of
  21    normal, accepted range of half-life is six hours.
  22    If you have somebody with a six-hour half-life,
  23    you give them a drug that goes up to a maximum,
  24    say 100 percent, in their blood at the time they
  25    take it, by the time they're due for the next dose,

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   1    you know, you're already down to like less than 10
   2    percent of that drug in their system.
   3              So, again, we've already talked about the
   4    importance -- this is a narrow therapeutic -- this
   5    drug has a narrow therapeutic index.             You would want
   6    to get the safest, most consistent levels of that
   7    drug in a patient's body for the duration of
   8    time that they are on it.          Why would you, then,
   9    want it to be a once-a-day drug where by design
  10    you have a wide swing in what the concentration of
  11    that drug is in the blood from a maximum peak all
  12    the way down in many patients on this drug to less
  13    than 10 percent of what it was in a drug that we
  14    know has all of these problems?
  15              So, you know, do we need a hiatus where we
  16    think about how we're dosing it, where we study
  17    it?   I mean, we can't just -- you know, and I'm
  18    certainly not sitting here and saying that I can
  19    tell you how to fix Xarelto.
  20              When you ask me, "Would you take it off
  21    market?"     I just think smart people need to come
  22    together and think about how to make this drug more
  23    safe and more effective than what it is.
  24              Fundamentally, it inactivates --
  25    activates -- it inhibits activated X.             That's the

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   1    anywhere else.       What I'm aware of is what's approved
   2    in this country.
   3         Q.    Okay.
   4               The approval in the United States, you will
   5    agree with me that there are at least different
   6    doses, right?
   7         A.    For different indications, yes.
   8         Q.    Okay.
   9               Doctor, you're familiar with patient
  10    compliance, right?
  11         A.    Very much so.
  12         Q.    Very important, right?
  13         A.    Extremely.     No drug works if it's not taken.
  14         Q.    You got it.
  15               And particularly in medicines that are taken
  16    to be long-term, patient compliance -- I mean, there
  17    is data out there showing that a once-a-day drug has
  18    much better compliance than a twice-a-day or
  19    three-times-a-day drug, right?
  20         A.    There is.     I'm sure there's some data on
  21    that, yes.
  22         Q.    And so if -- in your developmental program,
  23    if you have a twice-a-day arm in a study and a
  24    once-a-day arm in a study, and you're seeing the
  25    same safety and efficacy, but you know that based on

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   1         A.    Oh, it surely would be.
   2         Q.    Right, because that would actually tell you
   3    if the patients, at the high end or low end, are
   4    experiencing either a lack of efficacy or a bleeding
   5    risk, right?
   6         A.    Yes.
   7         Q.    Do you have that data?
   8         A.    No.    Does anybody have that data?
   9         Q.    I'm not here to answer questions, Doctor.
  10    I'm only here to ask them.          I apologize.
  11         A.    I would love to see that data.           And
  12    actually, on Page 8 and 9, we actually include
  13    graphs of that very -- those -- that very issue with
  14    edoxaban and with dabigatran where -- where trough
  15    levels are correlated to the probability of stroke
  16    and probabil- -- and -- and, indeed, until we are
  17    able to look at that kind of data, we are not really
  18    able to understand what these minimally effective
  19    doses are, et cetera.
  20         Q.    Right.
  21               And so the only way for you to have an
  22    opinion to a reasonable degree of medical certainty
  23    that BID dosing in an atrial fibrillation patient
  24    versus OD dosing is safer and more effective would
  25    be to actually have that data and make the

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   1    comparison?
   2         A.    That's correct.
   3         Q.    And you're saying that you don't have that
   4    data, correct?
   5         A.    I'm saying that.
   6         Q.    Are there any corrections that you would
   7    like to make to your report as we sit here today?
   8         A.    I think I found a couple of typos, but other
   9    than that, I don't -- let me see.
  10         Q.    Typos I'm fine with.
  11         A.    Yeah.
  12         Q.    Unless it's missing a "not" or a "does not"
  13    or --
  14               MR. MCWILLIAMS:       She said typo.
  15         A.    There was one thing.        Hold on one second.         I
  16    think it's misstated.         Let's see.     I cannot remember
  17    exactly what it was.         I'm sorry, I can't -- there
  18    was a place where -- where I was looking back at
  19    some of the -- the -- either the PK or PD data and
  20    saying that this was higher than a peak or trough.
  21    Anyway, I think -- I think it was confused.               I think
  22    it should have been the other, where I said it was
  23    higher than the trough, and it should have been
  24    higher than a peak.        But anyway, I can't find it
  25    right now, I mean --

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   1         A.    Yeah.
   2         Q.    You could dose adjust that atrial
   3    fibrillation patient down because you're concerned
   4    about the elevated PT level, right?
   5         A.    That would be very difficult to do, because
   6    I have no -- I don't know how to adjust Xarelto.
   7         Q.    Sorry.    And, in fact, if you did dose adjust
   8    based on that simple PT test, you could actually be
   9    exposing that patient to a risk of stroke because
  10    you're going below the efficacy level, correct?
  11         A.    As I said, I would not.         I would not, at
  12    this point, adjust down.          What I would do -- and I
  13    think there -- you know, there are some reports of
  14    this.     I believe there was a report from Japan in
  15    which -- a relatively small study, but in which the
  16    investigator used a -- a sensitive PT reagent and
  17    was able to identify patients who had the highest
  18    bleeding risk.
  19               You know, I mean, I think there are ways we
  20    could utilize this.        We certainly need more studies.
  21    This -- this is an important point.             And we
  22    definitely need more input from the manufacturer
  23    on -- on how we can best do this.
  24               But -- but to get to your point, I
  25    personally would not adjust down this drug, because

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   1         Q.    It's in your list?
   2         A.    Okay.
   3         Q.    Have you seen data that actually is the
   4    complete opposite to Nakano?
   5         A.    Have I seen data -- no, I have not.
   6         Q.    Did you look for data that is inconsistent
   7    with Nakano?
   8         A.    I looked for -- you know, I searched for
   9    pharmacokinetic -- I mean, there is no way to
  10    identify, pro or con, any particular opinion.                But I
  11    did search for data on pharmacokinetics.              I did not
  12    see -- if there was an article, I did not see it.
  13         Q.    Okay.
  14               Are you aware of any real world data -- and,
  15    Doctor, what I mean there is the NOACs that are out
  16    in the real world, so beyond the clinical trial
  17    setting.
  18               Are you aware of real-world data showing
  19    that for one of the NOACs, doctors actually were
  20    dose-adjusting down, and the incidence of stroke
  21    increased significantly?
  22         A.    I -- I haven't seen that paper.
  23         Q.    And based on the science and what we know
  24    now, in fact, you would not dose adjust down?
  25         A.    No I -- as I said, I would not, because I

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   1    don't have enough information that would reliably
   2    tell me what to do.
   3         Q.    Okay.
   4               You are aware that the manufacturers of the
   5    NOACs are working towards getting a factor Xa assay
   6    approved in this country?
   7         A.    I would certainly hope so.
   8         Q.    Well, I know you hope so.         But are you aware
   9    that they are?
  10         A.    I have not asked an industry representative
  11    that specific question, but I -- I would assume they
  12    are, and I've seen mention of that, opinions.                But,
  13    you know, like I said, I'm not privy to exactly what
  14    they're doing.
  15         Q.    Well, you were certainly shown some internal
  16    Bayer and Janssen documents and -- to prepare your
  17    report, right?
  18         A.    I was.
  19         Q.    Were you provided any documents showing what
  20    the manufacturers are trying to do working towards a
  21    factor Xa assay?
  22               MR. MCWILLIAMS:       Object to form.
  23         A.    I -- I don't recall seeing that specifically
  24    mentioned.
  25    BY MS. YATES:

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   1    stop everything.
   2         Q.    So you're not saying it's a timeline of
   3    first, reversal agent ordered and administered?
   4         A.    Right.
   5         Q.    And then you do the other standard operating
   6    procedures for a bleed?
   7         A.    No.   I think, as I said, you know, you're
   8    doing multiple things at the same time.              You have a
   9    team of people, yeah.
  10         Q.    Right.    Okay.    We are on the same page.         It
  11    just took me a while to not be too simple.
  12               Your opinion that PT is a readily available
  13    test for identifying Xarelto-treated patients, have
  14    you published that opinion?
  15         A.    I have not.
  16         Q.    Have you tested whether it's reliable?
  17         A.    I have not.
  18               MR. MCWILLIAMS:       Object to form.
  19    BY MS. YATES:
  20         Q.    So you don't know your error rate?
  21         A.    That's correct.
  22         Q.    You don't know, sitting here today, how
  23    unreliable using that PT test with an appropriate
  24    reagent is?
  25               MR. MCWILLIAMS:       Object to the form.

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   1    that the FDA had.
   2         Q.    But you agree that Xarelto and the other
   3    NOACs were approved without a requirement of
   4    therapeutic drug monitoring?
   5         A.    I do know that.
   6         Q.    And you know that currently there is no
   7    FDA-approved standardized test or device that can
   8    measure the drug level of Xarelto in a patient's
   9    blood or a surrogate blood test that can assess the
  10    degree of anticoagulation with Xarelto use, correct?
  11               MR. MCWILLIAMS:       Object to form.
  12         A.    I know that there is no recommended
  13    FDA-approved test to do that.
  14         Q.    Well, there is no FDA-approved standardized
  15    test to do it, right?
  16         A.    Correct.
  17         Q.    And you understand that the -- I'm just
  18    going to call it PT test, prothrombin time.               You
  19    also understand that the PT test has not been
  20    approved by the FDA to measure the level of Xarelto
  21    or the degree of anticoagulation, correct?
  22               MR. MCWILLIAMS:       Object to form.
  23         A.    Yes.   As far as I know, that's correct.
  24         Q.    And there is no approved -- FDA-approved
  25    assay that can measure drug level or degree of

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   1    anticoagulation for any of the NOACs, correct?
   2         A.    That's --- I believe that's correct.
   3         Q.    You agree that the FDA does not recommend or
   4    require PT testing for Xarelto, correct?
   5         A.    Correct.
   6         Q.    In fact, are you aware of any drug
   7    regulatory agency worldwide that recommends or
   8    requires PT testing for Xarelto?
   9         A.    Uhmm, right.      I can't speak -- I really
  10    can't speak to that.         As far as I know, that's
  11    correct.
  12         Q.    You agree that there are no professional
  13    medical societies that have issued medical practice
  14    guidelines that recommend or require PT testing for
  15    Xarelto, correct?
  16         A.    As far as I know.       I don't -- you know, I
  17    don't keep up with all the guidelines, but as far as
  18    I know, I have not seen it.
  19         Q.    And you are a member of several
  20    organizations, right?
  21         A.    I am.
  22         Q.    Do they have any guidelines that you are
  23    aware of recommending or requiring PT testing for
  24    Xarelto?
  25         A.    No, but they don't -- the societies that I

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   1    point.
   2         Q.    So just so I'm clear, and -- and you're
   3    telling us that -- strike that.
   4               There are no patients in your practice who
   5    are on Xarelto where you have continued to refill
   6    that prescription that you are monitoring with
   7    either a PT test or some other test?
   8         A.    That's right.      I'm not currently doing it.
   9         Q.    On your patients who you said failed
  10    Xarelto, developed blood clots, did you file adverse
  11    event reports?
  12         A.    No, I didn't.
  13         Q.    What about your patients on Xarelto who have
  14    experienced bleeds, did you file adverse event
  15    reports?
  16         A.    I've not had any.
  17               MR. MCCAULEY:      I'm sorry, I didn't hear that
  18               last response.
  19               THE WITNESS:      I said I have not had any
  20               patients on Xarelto who have had bleeding.
  21               MR. MCCAULEY:      Thank you very much.        Thank
  22               you.
  23    BY MS. YATES:
  24         Q.    Doctor, let's go to Page 6 of your report.
  25    And the heading is "Inter-patient Variability," and

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   1                         C E R T I F I C A T E
   2

   3               Certification is valid only for a transcript
   4    accompanied by my original signature and
   5    Original required seal on this page.
   6

   7               I, Marybeth E. Muir, Certified Court
   8    Reporter in and for the State of Louisiana, and
   9    Registered Professional Reporter, as the officer
  10    before whom this testimony was taken, do hereby
  11    certify that CINDY A. LEISSINGER, M.D., after
  12    having been duly sworn by me upon authority of R.S.
  13    37:2554, did testify as hereinbefore set forth in
  14    the foregoing 353 pages; that this testimony was
  15    reported by me in the stenotype reporting method,
  16    was prepared and transcribed by me or under my
  17    personal direction and supervision, and is a true
  18    and correct transcript to the best of my ability and
  19    understanding; that the transcript has been prepared
  20    in compliance with transcript format guidelines
  21    required by statute or by rules of the board, and
  22    that I am informed about the complete arrangement,
  23    financial or otherwise, with the person or entity
  24    making arrangements for deposition services; that I
  25    have acted in compliance with the prohibition on

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        Protected - Subject To Further Protective Review

   1    contractual relationships, as defined by Louisiana
   2    Code of Civil Procedure Article 1434 and in rules
   3    and advisory opinions of the board; that I have no
   4    actual knowledge of any prohibited employment or
   5    contractual relationship, direct or indirect,
   6    between a court reporting firm and any party
   7    litigant in this matter nor is there any such
   8    relationship between myself and a party litigant in
   9    this matter.      I am not related to counsel or to the
  10    parties herein, nor am I otherwise interested in the
  11    outcome of this matter.
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             This 16th day of November, 2016.
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                                  MARYBETH E. MUIR, CCR, RPR
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